Case 2:19-cv-01690-JCM-DJA Document 81-1 Filed 10/13/22 Page 1 of 4




                                                         DEF MSJ _ 0001
Case 2:19-cv-01690-JCM-DJA Document 81-1 Filed 10/13/22 Page 2 of 4




                                                         DEF MSJ _ 0002
Case 2:19-cv-01690-JCM-DJA Document 81-1 Filed 10/13/22 Page 3 of 4




                                                         DEF MSJ _ 0003
Case 2:19-cv-01690-JCM-DJA Document 81-1 Filed 10/13/22 Page 4 of 4




                                                         DEF MSJ _ 0004
